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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


  DENNIS DORLING, Derivatively on Behalf of
  Nominal Defendant MAXAR
  TECHNOLOGIES, INC.,
                Plaintiff,

  v.

  HOWARD L. LANCE, HOWELL M. ESTES
  III, NICK S. CYPRUS, JOANNE O. ISHAM, C.
  ROBERT KEHLER, L. ROGER MASON JR.,                    Case No.: 19-cv-02134-LPS
  ROBERT L. PHILLIPS, ERIC J. ZAHLER,
  DANIEL L. JABLONSKY, and ANIL
  WIRASEKARA

                Defendants,

  and

  MAXAR TECHNOLOGIES, INC.,

                  Nominal Defendant.


        STIPULATION AND [PROPOSED] ORDER REGARDING CONTINUED STAY
                            OF THE ACTION

        Plaintiff Dennis Dorling (“Plaintiff”), derivatively and on behalf of Maxar Technologies,

Inc. (“Maxar”), and defendants Howard L. Lance, Howell M. Estes, Nick S. Cyprus, Joanne O.

Isham, C. Robert Kehler, L. Roger Mason Jr., Robert L. Phillips, Eric J. Zahler, Daniel L.

Jablonsky, and Anil Wirasekara and Maxar (“Defendants” and together with the Plaintiff, the

“Parties”) jointly submit this Stipulation to temporarily stay the Derivative Action

(“Stipulation”), and in support thereof state as follows:

        WHEREAS, Plaintiff filed the above-captioned action purportedly in the right, and for

the benefit, of Maxar against Defendants seeking to remedy Defendants’ alleged breach of
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fiduciary duties, gross mismanagement and violations of the Securities Exchange Act of 1934

that allegedly occurred and caused substantial harm to Maxar (the “Derivative Litigation”);

        WHEREAS, a putative securities class actions captioned Oregon Laborers Employers

Pension Trust Fund v. Maxar Technologies, Inc., et al., Case No.: 1:19-cv-00124-WJM-SKC

(the “Securities Litigation”) is pending in the United States District Court for the District of

Colorado (the “Colorado Court”);

        WHEREAS, there is substantial overlap between the facts and circumstances alleged in

the Derivative Litigation and the Securities Litigation, including the possible relevance of many

of the same documents and witnesses;

        WHEREAS, Maxar, Howard L. Lance and Anil Wirasekara, named defendants in the

Derivative Litigation, are also named as defendants in the Securities Litigation (the “Class

Action Defendants”);

        WHEREAS, on August 7, 2019, an Order was entered appointing Oregon Laborers

Employers Pension Trust Fund as Lead Plaintiff (D.I. 41) of the Securities Litigation;

        WHEREAS, on October 7, 2019, Lead Plaintiff filed an Amended Consolidated

Complaint (D.I. 44) in the Securities Litigation;

        WHEREAS, on December 6, 2019, the Class Action Defendants filed a motion to

dismiss for failure to state a claim (D.I. 51);

        WHEREAS, pursuant to the Private Securities Litigation Reform Act (“PSLRA”), 15

USC § 78u–4(b)(3)(B), “all discovery and other proceedings shall be stayed during the pendency

of any motion to dismiss” and, as result, until the Class Action Defendants’ anticipated motion to

dismiss is decided, the Securities Litigation will be stayed;




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        WHEREAS, on February 2, 2020, the Parties voluntarily stayed the Derivative Litigation

until either (1) the Colorado Court issues a decision on the motion to dismiss the Securities

Litigation; or (2) either of the Parties to this Stipulation gives written notice to all other parties

that they no longer consent to the voluntary stay of the Derivative Litigation (D.I. 7);

        WHEREAS, on September 11, 2020, the Colorado Court issued an order granting in part

and denying in part defendants’ motion to dismiss the Securities Litigation (D.I. 69);

        WHEREAS, the Parties agree that in order to ensure economy of time and effort for the

Court, for counsel, and for the litigants, Plaintiff and Defendants have agreed that, in light of the

overlap between the Derivative Litigation and the Securities Litigation, the Derivative Litigation

should be further voluntarily stayed on the terms set forth below until either of the Parties to this

Stipulation gives written notice to all other parties that they no longer consent to the voluntary

stay of the Derivative Litigation.

        IT IS HEREBY STIPULATED AND AGREED, by the parties hereto, through their

undersigned counsel, subject to the approval of the Court, that:

        1.      Counsel for Defendants have accepted service on behalf of Howard L. Lance,

Howell M. Estes, Nick S. Cyprus, Joanne O. Isham, C. Robert Kehler, L. Roger Mason Jr.,

Robert L. Phillips, Eric J. Zahler, Daniel L. Jablonsky, Anil Wirasekara and Maxar.

        2.      The stay of the Derivative Litigation shall continue pending further order of this

Court, agreement by the Parties, or as otherwise provided herein.

        3.      The Parties agree that unless otherwise ordered by the Court, the terms of this

Order shall apply to derivative actions later instituted in, or transferred to, this Court that involve

similar or related claims, or that are otherwise deemed related to this Derivative Action.




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       4.      The Parties agree that during the pendency of this stay, Defendants shall include

Plaintiff in any mediation with the plaintiffs in the Securities Litigation and shall include

Plaintiff in any mediation with any purported plaintiff in any related or similar derivative action.

       5.      The Parties agree that notwithstanding this stay of this Derivative Action, Plaintiff

may file an amended complaint and that this Stipulation does not impact any defenses that

Defendants may have in this litigation, other than to the adequacy of service as outlined above.

       6.      In the event that Defendants produce any documents relevant to the allegations in

this case pursuant to a stockholder books and records request by any record or beneficial owner

of Maxar stock, or in the Securities Litigation or in any stockholder derivative action, copies of

such documents shall be provided to Co-Lead Counsel within ten (10) days, subject to the

execution by Plaintiffs of an appropriate confidentiality agreement governing the use and

disclosure of these materials.

       7.      In the event that any depositions are scheduled in the Securities Litigation,

Defendants shall alert Plaintiffs and the Parties shall meet and confer concerning whether and to

what extent Plaintiffs will participate in deposition discovery in the Securities Litigation.

       8.      This continued stay of the Derivative Ligation shall lift upon written notice by

any Party to this Stipulation that they no longer consent to the voluntary stay. The Parties will

meet and confer within ten (10) days of the lifting of the stay and submit a proposed schedule

within fourteen (14) days after the meet and confer for further proceedings to the Court.

Dated: September 21, 2020




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                                        Attorneys for Plaintiff Dennis Dorling



                                        SO ORDERED:


                                        __________________________
                                        Judge Leonard P. Stark




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